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                    UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF MICHIGAN
                           SOUTHERN DIVISION
_____________________________________

UNITED STATES OF AMERICA
                  Plaintiff,                    Case No. 1:20-cr-00183-RJJ

                                                Hon. Robert J. Jonker
                                                Chief United States District Judge
v.
                                                Hon. Sally J. Berens
                                                United States Magistrate Judge



BARRY CROFT,
                        Defendant.
________________________________________________________________________/

     RESPONSE TO GOVERNMENT MOTION FOR ORDER CONCERNING
                 MEDIA ACCESS TO TRIAL EXHIBITS

         For the following reasons, Barry Croft through BLANCHARD LAW opposes

the relief sought by the government relating to the release of trial exhibits. ECF No.

511, PageID.3867-3873.

                               STATEMENT OF FACTS

         Mr. Croft and three co-defendants are proceeding to trial on allegations

relating to an alleged plot to kidnap Governor Whitmer. The indictment was the

culmination of the creative efforts of at least six paid snitches, two undercover

agents, and scores of FBI agents. The agents and snitches recruited the defendants,

arranged meetings, paid for travel, paid for hotels, rented cars, produced

promotional videos demonstrating explosives, purchased equipment, vetted new

members, hatched the ideas, and directed the operations.



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      As part of the “investigation”, the snitches and undercover agents wore

recording devices. At some meetings, there were as many as 5 recordings being

made of the same event. On the much-discussed “trip up north”, the car which the

government alleges Mr. Croft occupied, was driven and occupied by at least three

paid government actors.

      The government is expected to introduce approximately two hours of audio

curated from the 1,000+ hours of audio recordings they created during the

investigation.

      Ten months ago, the parties litigated a very similar issue relating to the

release of audio and video recordings from Mr. Croft’s detention hearing. See

BuzzFeed Mot. Compel, ECF No. 193. The government did not take a position at

that time. See Opinion and Order, ECF No. 254, PageID.1380. However, the

government did note a concern that early release of exhibits could pose a potential

appellate problem later. Response, ECF No. 204, PageID.1096. Apparently, that’s a

risk they’re now willing to take.

      Ultimately, the Court ordered that the audio and video exhibit should not be

released “until conclusion of Defendant Croft’s trial, conviction by guilty plea, or

other order of the Court, whichever comes first.” Opinion, ECF No. 254,

PageID.1391.

      The government’s current proposal allows it to play out its case in the media

while imposing an effective gag order on the defense until the government has

rested its case. See Proposed Order, ECF No. 511-1, PageID.3874 (prohibiting




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disclosure of any trial exhibits to the media or to anyone on their behalf unless and

until they are admitted into evidence1).

        The proposed order also imposes an unnecessary burden on the defense to

meet with the government “immediately upon the conclusion of the trial day” to

discuss exhibit disclosures. Counsel’s ordinary approach is to immediately meet

with his client before the USMS transports him. Such an arrangement will result in

delaying the USMS in carrying out their duties daily or require counsel to travel to

Newaygo on a daily basis, if the Marshals are unable to delay transport while the

parties argue over exhibits.

        The proposed order further requires the parties to produce within 24 hours2

copies of exhibits to “credentialed media” without providing any guidance on who

qualifies as “credentialed” media3. Unlike the US Attorney’s office, none of the

defense counsel employ public relations staff to manage this administrative burden.

                               LAW AND ARGUMENT

        In United States v. Beckham, the Sixth Circuit upheld the district court’s

decision to deny access to copy video and audio recordings admitted at trial because

“[w]hen weighing their common-law right to copy exhibits against the defendants'


1      Paradoxically, the proposed order prevents disseminating “exhibits” until
they are admitted, but a document only becomes an “exhibit” when it is admitted.
2      In practice, this means that defense counsel must generate and distribute
copies before the next day of trial begins as the 24-hour mark will expire during the
trial day.
3      The government has recently complained about Mr. Croft’s appearance on a
video podcast which was critical of the government and prosecutors generally. See
ECF No. 489, PageID.3773. If the Court is inclined to order that the parties release
exhibits to “credentialed media”, some guidance on how one determines whether to
“credential” media or who is the “credentialing” authority will be needed.


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constitutional right to a fair trial and the court's desire for orderly proceedings, the

district court . . . determined that the potential for public benefit was less than the

potential harm to the fair and orderly administration of criminal justice.” United

States v. Beckham, 789 F.2d 401, 411 (6th Cir. 1986).

      Noting that there was a “scarcity of authority on the subject” the Beckham

court adopted five factors to be considered by a court in determining whether to

permit access under the common law right to records. Id. at 414.

      The duty of the trial court is “to exercise an informed discretion as to release

of the tapes, with a sensitive appreciation of the circumstances that led to their

production.” Id. at 409, quoting Nixon v. Warner Commc'ns, Inc., 435 U.S. 589, 603,

98 S. Ct. 1306,1315, 55 L. Ed. 2d 570 (1978).

      a. The Court’s supervisory powers over its own documents.

      The first Beckham factor is the Court’s supervisory authority over its own

documents. Beckham, 789 F.2d at 414. Trial courts have the power to seal records

when the interests of privacy outweigh the public's right to of access. In re The

Knoxville News–Sentinel Co., Inc., 723 F.2d 470 (6th Cir.1983) (citing Brown &

Williamson Tobacco Corp., 710 F.2d at 1179).


      In United States v. Dimora, the district court delayed release of videos

depicting the defendant pending trial noting that because “these exhibits are videos

increases the probability that they will be widely disseminated and thus taint the

jury pool.” 862 F. Supp. 2d 697, 711 (N.D. Ohio 2012); see also United States v.




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Dimora, No. 1:10CR387, 2015 WL 6444886, at *2 (N.D. Ohio Oct. 23, 2015)

(releasing the same records after the criminal proceedings had concluded).


      Because the public will have access to see and hear the evidence in real time

and the media will have the ability to describe the exhibits and testimony, the

“incremental gain in knowledge that would result from” having access to the trial

exhibits before the conclusion of the trial is negligible and the exhibits should not be

released until the trial is complete.


      b. The benefit to the public from the incremental gain in knowledge
         that would result from access to the materials in question.

      The Court is going to greater than usual lengths to ensure that the trial is

available to the public. The Court has announced that so long as the CARES Act

and related authorizations continue, the trial proceedings will be available via an

audio bridge for the public to listen from anywhere in the world.

      Because the hearing will be open to the public to see and hear the exhibits,

the media will be able to write down the exact words from recordings and describe

the images and items admitted. The only thing the media will be unable to do

during the pendency of the trial is to publish copies of the exact exhibits, reproduce

the likenesses of the defendants, and make use of their voices. The “incremental

gain in knowledge that would result from” having access to Mr. Croft’s voice,

likeness, or photographs of exhibits is negligible.

      c. The degree of danger to petitioner or other persons mentioned in
         the materials.




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        Mr. Croft has an interest in impaneling a fair and impartial jury. The media

attention has been substantial. In the prior round of litigation on this topic, one

outlet characterized Mr. Croft’s intentions relating to public knowledge as “Whitmer

kidnap suspect doesn’t want public to hear god gave him ok” 4. In reality, Mr. Croft

wants the public to hear the evidence in context at a trial and wants the decision to

be made within the context of a properly empaneled jury.

        Relying on a case out of the Central District of Illinois, the government

argues that a juror seeing a replay or excerpt of a videorecorded deposition would

not violate or lessen the defendant’s constitutional rights. United States v. Berger,

990 F. Supp. 1054, 1057-58 (C.D. Ill. 1998). This ignores the significant risk that in

a highly publicized trial as this, it is likely that people with the juror’s social

spheres will know they are serving on this case. As those friends and family

members see news reports which contain the evidence from the day, they will be

tempted to try to speak to the juror about it. While this is a concern in every case, it

is heightened when there is a risk that people approaching the jurors will be armed

with (one-sided) information about the case from the government’s exhibits.

        d. The possibility of improper motives on the part of the media such
           as promoting public scandal or gratifying private spite.

        There is no evidence of improper motive on behalf of the media.

        e. Any special circumstances in the case.




4https://www.freep.com/story/news/local/michigan/2021/06/01/michigan-whitmer-
kidnap-suspect-barry-croft-jr/5290464001/


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        This case is arguably the most high-profile case pending in the District and

possibly second nationally only to the January 6 th Capitol rioters. Selecting a fair

and unbiased jury and avoiding improper influence on the jury during the 5–6–

week trial will be a challenge. The government recognized the problems in pretrial

publicity when it asked undersigned counsel for a protective order. It now wishes to

reverse course when the end is in sight.

        Permitting the government to distribute trial exhibits throughout the trial

increases the risk that people will attempt to discuss the facts of the case with the

jurors or influence the jurors by expressing their own opinions before the proofs are

concluded.

                                   CONCLUSION

        The Court should deny the government’s request to provide daily releases of

exhibits and should delay the release of any trial exhibits until the conclusion of the

case.

                                        Respectfully Submitted,
                                        BLANCHARD LAW


Dated: March 1, 2022                    /s/ Joshua A. Blanchard
                                        Joshua Blanchard
                                        Attorney for Mr. Croft




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